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                   IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO

  MICHAEL GONIDAKIS, ET AL.            :
                                       :
                  PLAINTIFFS,          :
                                       :   CASE NO. 2:22-CV-773
  AND
                                       :
  THE HONORABLE REVEREND               :   CHIEF JUDGE ALGENON L.
  KENNETH L. SIMON                     :   MARBLEY
                                       :
  AND                                  :   MAGISTRATE JUDGE ELIZABETH
                                       :   DEAVER PRESTON
  THE HONORABLE REVEREND
                                       :
  LEWIS MACKLIN
                                       :
  AND                                  :
                                       :
  HELEN YOUNGBLOOD, IN THEIR           :
  CAPACITY AS REPRESENTATIVES          :   “THREE-JUDGE PANEL
  OF THE PUTATIVE CLASS IN             :   REQUESTED”
  ARMOUR V. OHIO
                                       :
                     INTERVENORS-      :   “CLASS-ACTION ALLEGATIONS”
                        PLAINTIFFS,    :
                                       :   “CLAIM OF
  VS.                                  :   UNCONSTITUTIONALITY”
                                       :
                                       :
  OHIO REDISTRICTING
  COMMISSION, ET AL.                   :
                                       :
                     DEFENDANTS,       :
                                       :
  AND                                  :
                                       :
  SENATOR VERNON SYKES AND
                                       :
  HOUSE MINORITY LEADER
  ALLISON RUSSO, IN THEIR              :
  CAPACITIES AS MEMBERS OF THE         :
  OHIO REDISTRICTING                   :
  COMMISSION,                          :
                                       :
                       PROPOSED        :
        INTERVENORS-DEFENDANTS.
                                       :
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    RESPONSE OF SIMON PARTIES TO PLAINTIFFS’EMERGENCY MOTION
   TO VACATE STAY AND IMMEDIATE APPOINTMENT OF A THREE-JUDGE
                              PANEL

          Intervenor Plaintiffs, the Honorable Kenneth L. Simon, the Honorable Lewis

   Macklin and Helen Youngblood, class representatives and Plaintiffs in N.D. Ohio Case No.

   21-cv-2267, (hereinafter “the Simon Parties”), have no objection to the Gonidakis

   Plaintiffs’ request, ECF Docket #73, to vacate the stay entered in this action and

   notification of the Chief Judge of the Sixth Circuit in accordance with the provisions of 28

   U.S.C. §2284 of the filing of this action.

          The Simon Parties object to the request of the Gonidakis Plaintiffs that the

   prospective three-judge panel appointed in this action approve the use to the Third Ohio

   redistricting plan in the scheduled May 2022 primary election for the reason the Third Plan

   suffers from the same fatal defect as the earlier proposed plans, failure to comply with the

   Voting Rights Act of 1965, as amended, mandate that racial demographics, racially

   polarized voting, the history of racial discrimination in redistricting in Ohio, and the Senate

   Report factors totality of circumstances test be considered in connection with district

   configuration .The failure of Defendants to comply with the VRA causes the Third Plan

   to result in the political process not being equally open to the Simon Parties and the Simon

   Parties being deprived of an equal opportunity to elect representatives of choice. For this

   reason, the Simon Parties intend to move forthwith for the appointment of a special master

   to craft Constitutional Ohio State and Congressional redistricting plans since Ohio officials

   have repeatedly intentionally violated the VRA and the Fourteenth and Fifteenth

   Amendments to the United States Constitution.




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                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing was served by

   operation of the United States District Court, Southern District of Ohio electronic filing

   system, on March 18, 2022.


                                                s/Percy Squire, Esq.
                                                Percy Squire (0022010)
                                                Attorney for Proposed Intervenors-Plaintiffs




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